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                         IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                      :   INFORMATION FILED
                                               :   UNDER SECTION 851 OF
        v.                                     :   TITLE 21, U.S.C., RELATING
                                               :   TO INDICTMENT 09-733
 DAVID COBB                                    :   FILED APRIL 14, 2010


                       INFORMATION CHARGING PRIOR OFFENSES

                Zane David Memeger, United States Attorney for the Eastern District of

Pennsylvania, hereby accuses this defendant, who was charged on April 14, 2010, in the Eastern

District of Pennsylvania, with conspiracy to distribute 500 grams or more of cocaine, and aiding

and abetting the possession with intent to distribute of, 500 grams or more of cocaine, in

violation of Title 21, United States Code, Sections 846 and 841(a)(1), (b)(1)(B), and Title 18,

United States Code, Section 2, of having previously been convicted as described below:

                1.     On or about July 29, 1993, in the Court of Common Pleas of Delaware

County, Pennsylvania, defendant David Cobb was sentenced to 18 to 48 months imprisonment

following his conviction for a controlled substance violation on Common Pleas Docket No. CP-

23-CR-0020219-1992, arising from an October 1, 1992 arrest by the Chester County CID for

violation of 35 Pa.C.S.A § 780-113(30), a felony under the laws of the Commonwealth of

Pennsylvania.

                2.     On or about July 6, 2004 in the Court of Common Pleas of Delaware

County, Pennsylvania, defendant David Cobb was sentenced to 42 to 84 months imprisonment

following his conviction for a controlled substance violation on Common Pleas Docket No. CP-

23-CR-0002305-2004, arising from a June 13, 2003 arrest by the Delaware County Sheriff’s
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Office for violation of 35 Pa.C.S.A § 780-113(30), a felony under the laws of the Commonwealth

of Pennsylvania.

                3.    On or about July 9, 2004 in the Court of Common Pleas of Delaware

County, Pennsylvania, defendant David Cobb was sentenced to 41 to 84 months imprisonment

following his conviction for a controlled substance violation on Common Pleas Docket No. CP-

23-CR-0002305-2004, arising from a July 31, 2003 arrest by the Chester City Police Department

for violation of 35 Pa.C.S.A § 780-113(30), a felony under the laws of the Commonwealth of

Pennsylvania.

                                           ZANE DAVID MEMEGER
                                           United States Attorney

                                                        /s/
                                           PETER F. SCHENCK
                                           Chief, Criminal Division
                                           Assistant United States Attorney


Filed: May 24, 2010




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